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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA FILED IN OPEN COURT

Lb.

JACKSONVILLE DIVISION és 17-2020
CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA BEE EET CRIA,
v. Case No. 3:20-cr- ly —_)\-
18 U.S.C. Bo. m PO

JORGE PEREZ, 18 U.S.C. § 1347
RICARDO PEREZ, 18 U.S.C. § 1956(h)
SETH GUTERMAN, 18 U.S.C. § 1956(a)(1)(A)@)
AARON DURALL, 18 U.S.C. § 1957
JAMES F. PORTER, JR.,
SEAN PORTER,
CHRISTIAN FLETCHER,
NEISHA ZAFFUTO,
AARON ALONZO, and
NESTOR ROJAS

INDICTMENT

The Grand Jury charges:
COUNT ONE
(Conspiracy)

A. Introduction
At times material to this Indictment,
Defendants, Related Companies, and Individuals
1. Defendant JORGE PEREZ was a resident of Miami, Florida. At
various times, JORGE PEREZ managed and controlled Campbellton-Graceville
Hospital (“Campbellton-Graceville”), Regional General Hospital Williston

(“Williston”), and Putnam County Memorial Hospital (“Putnam County”). JORGE
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PEREZ also owned and controlled Empower H.I.S., LLC (“Empower”), a medical
billing and software company with its principal place of business in Miami-Dade
County, Empower Investment Group, LLC (“Empower Investment”), and Hospital
Partners, Inc. (“Hospital Partners”).

2. Defendant RICARDO PEREZ was a resident of Miami, Florida.
RICARDO PEREZ was employed by Empower, and owned and controlled Empower
Investment. RICARDO PEREZ and JORGE PEREZ were brothers.

3. Defendant SETH GUTERMAN was a resident of Chicago, Illinois.
GUTERMAN owned and controlled People’s Choice Hospital (“People’s Choice”), a
hospital management company with its principal place of business in Chicago, and at
various times managed and controlled Campbellton-Graceville.

4, Defendant AARON DURALL was a resident of Parkland, Florida.
DURALL owned and controlled Reliance Laboratory Testing Inc. (“Reliance”), a
clinical testing laboratory that performed toxicology testing on urine samples, and had
its principal place of business in Sunrise, Florida. DURALL also owned and
controlled Durall Capital Holdings, LLC (“Durall Capital”) and DL Investment
Holdings, LLC (“DL Investment”).

5. Defendant JAMES F. PORTER, JR. (“JAMES PORTER”) was a
resident of Ocala, Florida. JAMES PORTER owned and controlled RAJ Enterprises
of Central Florida, LLC d/b/a Pinnacle Laboratories (“Pinnacle”), a clinical testing

laboratory that performed toxicology testing on urine samples, and had its principal
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place of business in Ocala, Florida, in the Middle District of Florida. JAMES
PORTER also served as the manager of Hospital Laboratory Partners, LLC (“HLP”),
a Florida corporation.

6. Defendant SEAN PORTER was a resident of Crystal River, Florida.
SEAN PORTER owned and controlled TYSI LLC, a Florida corporation.

7. Defendant CHRISTIAN FLETCHER was a resident of Atlanta,
Georgia. FLETCHER owned and controlled Lifebrite Laboratories, Inc.
(“Lifebrite”), a clinical testing laboratory that performed toxicology testing on urine
samples, and had its principal place of business in Atlanta, Georgia.

8. Defendant NEISHA ZAFFUTO was a resident of Miami, Florida.
ZAFFUTO owned and controlled Medivance Billing Services (“Medivance”), a
medical billing company with its principal place of business in Miami, Florida.

9. Defendant AARON ALONZO was a resident of Miami, Florida.
ALONZO owned and controlled CGH Holdings Company, Inc. (“CGH Holdings”),
a Florida corporation.

10. Defendant NESTOR ROJAS was a resident of Miami, Florida. ROJAS
was a listed principal of CGH Holdings.

11. Billing Company A, a medical billing company, was a Florida
corporation with its principal place of business in Miami-Dade County, Florida.

12. Co-conspirator David Byrns was a resident of Lighthouse Point, Florida.

Byrns and JORGE PEREZ owned and controlled Hospital Partners.
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13. Co-conspirator Kyle Marcotte was a resident of Atlantic Beach, Florida.
Marcotte was an operator of Beaches Recovery, a substance abuse treatment facility
located inJ acksonville, Florida, a manager of North Florida Labs, LLC (“North
Florida”), a Florida limited liability corporation, and the sole owner of KTL Labs,
LLC (“KTL Labs”), a Florida limited liability corporation.

14. Individual-1 was a resident of Georgia.

The Rural Hospitals

15. Campbellton-Graceville was a 25-bed hospital located in Graceville,
Florida. Campbellton Graceville was owned by the Campbellton-Graceville Hospital
Corporation (“CGH Corporation”), a not-for-profit entity created by the State of
Florida. CGH Corporation filed for bankruptcy protection in the United States
Bankruptcy Court for the Northern District of Florida in or about May 2017, leading
to closure of the hospital.

16. Williston was a 40-bed hospital located in Williston, Florida. Williston
was a for-profit hospital owned by Regional Health Partners, LLC, a Florida
corporation. The Florida Agency for Health Care Administration, which regulates
hospitals in Florida, declined to renew Williston’s license in or about July 2019,
leading to closure of the hospital.

17. Chestatee Regional was a 49-bed hospital located in Dahlonega,

Georgia. In or about August 2016, Durall Capital Holdings purchased the assets of
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18. Chestatee Regional. Chestatee Regional was sold in 2018 and shut down
in or about July 2018.

19. Putnam County was a 15-bed hospital located in Unionville, Missouri.
Putnam County was a public entity created under Missouri law, and was governed by
a Board of Trustees.

20. Campbellton-Graceville, Williston, Chestatee Regional, and Putnam
County (collectively, the “Rural Hospitals”) offered, among other services, inpatient
and outpatient medical care, specialty clinics, and emergency services. Each of the
Rural Hospitals had laboratory facilities equipped to conduct a variety of diagnostic
tests, as ordered by qualified medical professionals, for inpatients and outpatients of
the hospital.

21. Campbellton-Graceville and Putnam County were designated as Critical
Access Hospitals (“CAHs”), a designation established under the Balanced Budget Act
of 1997 to improve the financial viability of rural hospitals and promote access to
healthcare in rural communities. To qualify as a CAH, a hospital was required to,
among other things, have 25 or fewer beds, be located in a rural area as defined by
applicable regulations, maintain an annual average length of stay of 96 hours or less
for acute care patients, and provide a 24/7 emergency room. CAHs received
favorable Medicare reimbursement rates and could take advantage of other benefits

under the Medicare program designed to maintain their financial strength.
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22. Each of the Rural Hospitals had a National Provider Identification
(“NPI”) number. An NPI number was a unique 10-digit number assigned to each
individual and institutional health care provider by the Centers for Medicare and
Medicaid Services (“CMS”).

Urine Analysis (“UA”) and Blood Testing

23. Individuals receiving treatment for abuse of substances such as drugs or
alcohol, as well as individuals taking certain prescription medications under the
direction of a physician, typically submitted to regular urine analysis testing (“UA
testing”) to detect recent drug or alcohol use.

24. UA testing ranged in complexity from screening tests—also known as
qualitative or point of care tests—which provided instant results, to confirmatory tests,
also known as quantitative tests, which involved more complex analysis.

25. Screening UA tests were inexpensive; could be performed at a substance
abuse treatment facility, a doctor’s office, or a laboratory; and identified only the
presence or absence of a substance in the patient’s system. Confirmatory UA tests had
to be conducted in a laboratory setting using more sophisticated testing equipment
capable of accurately and definitively identifying specific substances and the
quantitative concentrations of the drugs or their metabolites. Confirmatory UA tests
were more precise, more sensitive, and detected more substances than screening UA
tests. Confirmatory UA tests were more expensive to process and therefore were

typically reimbursed by insurance companies at higher rates than screening UA tests.
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26. Blood tests were tests performed at a laboratory on the blood specimens
of patients.

27. None of the Rural Hospitals had the equipment or laboratory capacity to
conduct large-scale confirmatory UA tests or blood tests.

The Health Insurance Programs

28. Florida Blue (a Florida-headquartered licensee of the Blue Cross and
Blue Shield Association) (“Florida Blue”), Blue Cross Blue Shield of Georgia (a
Georgia-headquartered licensee of the Blue Cross and Blue Shield Association)
(“BCBS Georgia”), RightCHOICE Managed Care, Inc. (a Missouri-headquartered
licensee of the Blue Cross and Blue Shield Association) (“RightCHOICE”), United
HealthCare, Inc. (“UHC”), and Aetna Inc. (“Aetna”) (collectively, the “Private
Insurers”) were private insurance companies and, along with numerous other private
insurance companies, offered individual and group health benefit plans and served as
third-party administrators for self-insured health plans.

29. The Federal Employees Health Benefit Program (““FEHBP”) provided
medical benefits, items, and services to federal employees, retirees, and eligible
spouses and dependents. The United States Office of Personnel Management
(“OPM”) administered FEHBP and contracted with a number of private insurance
carriers, including the Private Insurers, to process and pay health care claims on behalf

of OPM.
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30. The Private Insurers and FEHBP, as well as other private insurance
companies that reimbursed the Rural Hospitals as described in this Indictment, were
each a “health care benefit program” as defined by 18 U.S.C. § 24(b), that is, “public
or private plans or contracts, affecting commerce, under which any medical benefit,
item or service is provided to any individual.”

31. | The Private Insurers and other private insurance companies entered into
contracts with health care providers in Florida, Georgia, Missouri, and other states,
including hospitals, under which the Private Insurers agreed to reimburse the health
care providers at negotiated rates for items and services provided to individuals
(known as “Members” or “‘Subscribers”) insured under the health insurance plans
provided or administered by the Private Insurers.

32. Providers with which the Private Insurers and other private insurance
companies had such contracts were generally referred to as “in-network” providers
with those insurers. Providers with which the Private Insurers did not have contracts
were generally referred to as “out-of-network” providers with those insurers, and were
reimbursed at substantially lower rates, or not at all, for providing services comparable
to in-network providers.

33. Each of the Rural Hospitals entered into contracts with each of the
Private Insurers (each, an “Insurance Contract”), and with other private insurance
companies, under which the insurers agreed to reimburse the Rural Hospitals for

providing a defined set of health care items and services, including laboratory testing
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services, to the insurers’ Members and Subscribers. The Rural Hospitals were
considered “in-network” providers with respect to each insurer with which they had a
contract.

34, Under the terms of the insurance contracts and consistent with state and
federal law, the Private Insurers were only responsible for claims for services that: (a)
were medically necessary and actually rendered, (b) were provided by a properly
licensed service provider, and (c) complied with the terms of the health care plans.
The Private Insurers provided high rates of reimbursement for laboratory testing
services and other medical services under their contracts with the Rural Hospitals due
to the Rural Hospitals’ status as CAHs and their location in rural parts of the country,
and in order to promote the hospitals’ financial viability and ensure access to health
care services for Members and Subscribers.

35. To obtain payment from the Private Insurers and other private insurance
companies, the Rural Hospitals, or their designees, submitted claims, either
electronically or on paper, that included, among other material information, the Rural
Hospitals’ NPI number and tax ID, the patient’s name, the patient’s diagnosis
described by standardized codes, a description of the service(s) rendered to the patient
using standardized codes, the date the services were rendered, and the amount

claimed for payment.
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B. The Conspiracy

36. Beginning at least in or about May 2015, and continuing until in or about
February 2018, in the Middle District of Florida, and elsewhere, the defendants,
JORGE PEREZ,

RICARDO PEREZ,

SETH GUTERMAN,

AARON DURALL,

JAMES PORTER,
CHRISTIAN FLETCHER,
NEISHA ZAFFUTO,

AARON ALONZO, and
NESTOR ROJAS,

did knowingly and willfully combine, conspire, confederate, and agree with each other
and others known and unknown to the Grand Jury:

a. to knowingly and willfully execute a scheme and artifice to defraud
health care benefit programs affecting commerce, as defined in 18 U.S.C. § 24(b), that
is, the Private Insurers, and to obtain, by means of materially false and fraudulent
pretenses, representations, and promises, money and property owned by, and under
the custody and control of, said health care benefit programs, in connection with the
delivery of and payment for health care benefits, items, and services, in violation of 18
U.S.C. § 1347; and

b. to knowingly and with the intent to defraud, devise and intend to devise
a scheme and artifice to defraud, and for obtaining money and property by means of
materially false and fraudulent pretenses, representations, and promises, knowing that

the pretenses, representations, and promises were false and fraudulent when made,

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and for the purpose of executing such scheme and artifice, did knowingly transmit and
cause to be transmitted, by means of wire communication in interstate and foreign
commerce, certain writings, signs, signals, pictures, and sounds, in violation of 18

U.S.C. § 1343.

C. Manner and Means of the Conspiracy

37. The manner and means by which the defendants and their co-
conspirators sought to accomplish the objects of the conspiracy included, among
others, the following:

a. It was part of the conspiracy that JORGE PEREZ, SETH
GUTERMAN, AARON DURALL, CHRISTIAN FLETCHER, and others would
and did research and identify financially distressed CAHs and rural hospitals in the
United States over which they could obtain ownership and control for the purpose of
billing false and fraudulent claims for laboratory testing under the hospitals’ in-
network contracts, even though such testing took place at independent laboratories on
behalf of patients with no connection to the hospitals.

b. It was further a part of the conspiracy that certain conspirators
would and did gain control over the operations of the Rural Hospitals, including
control over their bank accounts, billing systems, and their right to submit claims to
insurance companies with which the Rural Hospitals had in-network contracts, in the

following manner:

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1. JORGE PEREZ and SETH GUTERMAN obtained control
over Campbellton-Graceville in or about May 2015 by entering into a management
agreement with the Campbellton-Graceville Board;

ii. JORGE PEREZ obtained control over Williston in or about
February 2016 by entering into an agreement with the owners of the hospital;

iil. JORGE PEREZ and David Byrns obtained control over
Putnam County in or about September 2016 by entering into a management
agreement with the Putnam County Board; and

iv. AARON DURALL obtained control over Chestatee
Regional by acquiring the hospital, through Durall Capital, in or about September
2016.

c. It was further a part of the conspiracy that JORGE PEREZ would
and did cause software to be installed at Campbellton-Graceville, Williston, and
Putnam County that enabled the hospitals’ laboratories to transmit patient billing
information and associated data by wire to Empower in Miami, Florida, for the
purpose of submitting insurance claims to the Private Insurers and other third-party
payors.

d. It was further a part of the conspiracy that AARON DURALL
would and did engage NEISHA ZAFFUTO and her billing company, Medivance, to
submit claims for screening and confirmatory UA tests, on behalf of Chestatee

Regional, to third-party payors, including the Private Insurers.

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e. It was further a part of the conspiracy that AARON DURALL
would and did engage JORGE PEREZ to install and cause to be installed new
information technology systems at Chestatee Regional, including a lab information
system that enabled the transmission of patient billing information and associated data
by wire from Chestatee Regional to Medivance’s location in South Florida, for the
purpose of submitting insurance claims to the Private Insurers and other third-party
payors.

f. It was further a part of the conspiracy that JORGE PEREZ and
RICARDO PEREZ would and did arrange for either Empower or Billing Company A
to submit claims for screening and confirmatory UA tests and blood tests, on behalf of
Campbellton-Graceville, Williston, and Putnam, to third-party payors, including the
Private Insurers.

g. It was further a part of the conspiracy that JORGE PEREZ, SETH
GUTERMAN, AARON DURALL, JAMES PORTER, CHRISTIAN FLETCHER,
AARON ALONZO, and NESTOR ROJAS would and did cause Reliance, Pinnacle,
Lifebrite, and other independent testing laboratories to obtain urine and blood samples
from individuals residing throughout the United States who were not inpatients or
outpatients of Campbellton-Graceville, Williston, Chestatee Regional, or Putnam
County, and who otherwise had no connection to the Rural Hospitals, and to perform

screening and confirmatory UA tests and blood tests on the samples.

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h. It was further a part of the conspiracy that AARON ALONZO
and NESTOR ROJAS would and did recruit independent laboratories to conduct
confirmatory UA tests that were fraudulently billed through Campbellton-Graceville.

1. It was further a part of the conspiracy that AARON ALONZO
and NESTOR ROJAS established CGH Holdings as a vehicle to divert insurance
reimbursements from Campbellton-Graceville to the independent laboratories.

j. It was further a part of the conspiracy that JORGE PEREZ,
RICARDO PEREZ, SETH GUTERMAN, AARON DURALL, JAMES PORTER,
CHRISTIAN FLETCHER, NEISHA ZAFFUTO, AARON ALONZO, and
NESTOR ROJAS would and did cause false and fraudulent claims for reimbursement
of the aforementioned screening and confirmatory UA test and blood tests to be
submitted to the Private Insurers and other private payors using the NPI and other
identifying information for the Rural Hospitals, as though the testing was
reimbursable under the Rural Hospitals’ insurance contracts with the Private Insurers
and other third-party payors, when in truth and in fact, it was not.

k. It was further a part of the conspiracy that JORGE PEREZ,
RICARDO PEREZ, SETH GUTERMAN, AARON DURALL, JAMES PORTER,
CHRISTIAN FLETCHER, NEISHA ZAFFUTO, AARON ALONZO, NESTOR
ROJAS, and their co-conspirators, would and did submit, and cause the submission,
through Empower, Billing Company A, and Medivance, of materially false and

fraudulent claims for reimbursement to the Private Insurers and other private payors,

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in that the claims for testing performed at Reliance, Pinnacle, Lifebrite, and other
independent laboratories were purportedly submitted pursuant to Campbellton-
Graceville, Williston, Chestatee Regional, and Putnam County’s in-network contracts
under which reimbursement was available for testing performed for hospital patients,
but, in truth and in fact, these claims were for testing that was not medically necessary
and not reimbursable under the contracts.

1, It was a further part of the conspiracy that JORGE PEREZ, SETH
GUTERMAN, RICARDO PEREZ, AARON DURALL, JAMES PORTER,
CHRISTIAN FLETCHER, NEISHA ZAFFUTO, AARON ALONZO, NESTOR
ROJAS, and their co-conspirators, would and did cause the materially false and
fraudulent claims to be submitted to the Private Insurers and other third-party payors
in order to take advantage of Campbelliton-Graceville, Williston, Chestatee Regional,
and Putnam County’s in-network contracts, under which the Rural Hospitals were
reimbursed at significantly higher rates than the out-of-network, independent
laboratories where most of the testing took place.

m. It was further a part of the conspiracy that JORGE PEREZ and
AARON DURALL would and did pay and cause to be paid kickbacks to recruiters,
including Individual-1 and co-conspirator Kyle Marcotte, to induce the solicitation
and referral of urine samples that could be tested at outside laboratories and falsely
and fraudulently billed through Campbellton-Graceville, Williston, Chestatee

Regional, and Putnam County’s, by paying such recruiters a portion of the insurance

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reimbursements the Rural Hospitals obtained from the Private Insurers and other
third-party payors.

n. It was further a part of the conspiracy that JORGE PEREZ,
RICARDO PEREZ, SETH GUTERMAN, and their co-conspirators would and did
cause a portion of the reimbursements received by Campbellton-Graceville, Williston,
Chestatee Regional, and Putnam County to be transferred to companies controlled by
AARON DURALL, JAMES PORTER, CHRISTIAN FLETCHER, AARON
ALONZO, and NESTOR ROJAS to compensate them for performing and arranging
for the performance of the testing billed through the Rural Hospitals.

O. It was further a part of the conspiracy that the conspirators would
and did cause the materially false and fraudulent claims to be submitted by wire
transmission by Empower, Billing Company A and Medivance, in Miami, Florida, to
Florida Blue, in Jacksonville, Florida, in the Middle District of Florida, and to BCBS
Georgia, RightCHOICE Managed Care, UHC, Aetna, and other private insurers, in
interstate commerce.

p. It was further a part of the conspiracy that JORGE PEREZ,
RICARDO PEREZ, SETH GUTERMAN, AARON DURALL, JAMES PORTER,
CHRISTIAN FLETCHER, NEISHA ZAFFUTO, AARON ALONZO, NESTOR
ROJAS, and their co-conspirators, through the use of interstate wires, would and did
cause the Private Insurers to make payments to Campbellton-Graceville, Williston,

Chestatee Regional, and Putnam County for screening and confirmatory UA tests and

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blood tests that were medically unnecessary, not reimbursable under the contracts,
and obtained through materially false and fraudulent representations.

q. It was a further part of the conspiracy that, after BCBS Georgia
placed Chestatee Regional on a “pre-payment review” in which BCBS Georgia would
review all laboratory claims before determining whether to pay them, AARON
DURALL and NEISHA ZAFFUTO would and did submit, and caused to be
submitted, false and fraudulent claims in a manner designed to conceal the fact that
UA tests had been performed, namely, by submitting generic diagnosis codes that
made no mention of drug treatment.

r. It was a further part of the conspiracy that JORGE PEREZ and
JAMES PORTER would and did establish HLP and create a sham agreement under
which HLP purported to manage the Putnam County lab, when in truth and in fact,
HLP served as a vehicle to receive and distribute the proceeds derived from falsely and
fraudulently billing the Private Insurers and other third-party payors, through Putnam
County, for laboratory testing services.

s. It was a further part of the conspiracy that the conspirators would
and did participate in meetings, perform acts, and make statements to accomplish the
objects of and to conceal the conspiracy.

t. It was a further part of the conspiracy that the conspirators caused

Campbellton-Graceville, Williston, Putnam County, and Chestatee Regional to

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submit approximately $1.4 billion in false and fraudulent claims to the Private Insurers
for UA and blood testing, and to be reimbursed approximately $400 million.
All in violation of 18 U.S.C. § 1349.

COUNTS TWO THROUGH SIX
(Health Care Fraud)

A. Introduction
1, The Grand Jury realleges and incorporates by reference the paragraphs
contained in Section A of Count One of this Indictment as though fully set forth
herein.
B. The Scheme
2. Beginning in or about November 2015, and continuing until in or about
February 2018, in the Middle District of Florida, and elsewhere, the defendants,
JORGE PEREZ,
RICARDO PEREZ,
SETH GUTERMAN, and
AARON DURALL,
in connection with the delivery of and payment for health care benefits, items, and
services, did knowingly and willfully devise and execute, and attempt to execute, a
scheme and artifice to defraud a health care benefit program affecting commerce, as
defined by 18 U.S.C. § 24(b), that is, Florida Blue, and to obtain, by means of
materially false and fraudulent pretenses, representations, and promises, money and

property owned by, and under the custody and control of, said health care benefit

program.

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C. The Manner and Means of the Scheme
3. The manner and means of the scheme and artifice is described in Section
C of Count One of this Indictment, and the Grand Jury realleges and incorporates by
reference that section as though fully set forth herein.
D. Execution of the Scheme
4, On or about the dates set forth below in each count, within the Middle
District of Florida, and elsewhere, the defendants, in connection with the delivery of
and payment for health care benefits, items, and services, did knowingly and willfully
execute, and attempt to execute, the above-described scheme and artifice to defraud a
health care benefit program affecting commerce, as defined in 18 U.S.C. § 24(b), that
is, Florida Blue, and to obtain, by means of materially false and fraudulent pretenses,
representations, and promises, money and property owned by, and under the custody
and control of, said health care benefit program, in that the defendants submitted and
caused the submission of false and fraudulent claims to the insurers identified below,
seeking the identified dollar amounts, representing that the services were reimbursable

under the hospitals’ contracts and were medically necessary:

 

 

 

 

 

Count Claim Rec Beneficiary Serves a ao Ne Insurer
Two | December, | as. | Labtests | $4,384.00 | $3,068.80 | 776994261 Plonida
THREE | Decemmber!7, | wz. | Labtests | $7,107.00 | $2,179.39 aS Florida
FouR | Pecember2l, | ip. | Labtests | $4,774.00 | $1,398.49 Oe to0S3. Florida

 

 

 

 

 

 

 

 

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Approximate . .
: . . Services’ | Amount | Amount Claim
Count Claim Receipt Beneficiary Billed Billed Paid Number Insurer
FIVE | March9,2016 | IR. | Labtests | $5,190.00 | $1,502.84 | 100000521 | Florida
Q100000532 | Florida
SIX May 10, 2016 S.D. Lab tests | $5,190.00 | $1,051.98 731632 Blue

In violation of 18 U.S.C. §§ 1347 and 2.

COUNT SEVEN
(Conspiracy to Commit Money Laundering)

A. Introduction
1. The Grand Jury realleges and incorporates by reference the paragraphs

contained in Sections A and C of Count One of this Indictment as though fully set

forth herein.
B. The Conspiracy
2. Beginning in or about September 2016, and continuing until in or about

February 2018, in the Middle District of Florida, and elsewhere, the defendants,
AARON DURALL

and
NEISHA ZAFFUTO,

did knowingly and intentionally combine, conspire, confederate, and agree with each
other, Kyle Marcotte, and with others known and unknown to the Grand Jury:

a. to knowingly conduct and attempt to conduct a financial transaction
affecting interstate and foreign commerce, which financial transaction involved the

proceeds of specified unlawful activity, knowing that the property involved in the

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financial transaction represented the proceeds of some form of unlawful activity, with
the intent to promote the carrying on of specified unlawful activity, in violation of 18
U.S.C. § 1956(a)(1)(A)@); and

b. to knowingly engage and attempt to engage in a monetary transaction in
criminally derived property of a value greater than $10,000, and is derived from
specified unlawful activity, within the United States, in violation of 18 U.S.C. §
1957(a).

It is further alleged that the specified unlawful activities are conspiracy to
commit health care fraud and wire fraud, and health care fraud, in violation of 18
U.S.C. §§ 1349 and 1347.

All in violation of 18 U.S.C. § 1956(h).

COUNT EIGHT
(Conspiracy to Commit Money Laundering)

A. Introduction
1, The Grand Jury realleges and incorporates by reference the paragraphs
contained in Sections A and C of Count One of this Indictment as though fully set
forth herein.
B. The Conspiracy
2. Beginning in or about November 2015, and continuing until in or about
February 2018, in the Middle District of Florida, and elsewhere, the defendants,
JORGE PEREZ,

RICARDO PEREZ,
SETH GUTERMAN,

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JAMES F. PORTER, JR..,
SEAN PORTER,
CHRISTIAN FLETCHER,
AARON DURALL, and
NEISHA ZAFFUTO,

did knowingly and intentionally combine, conspire, confederate, and agree with each
other and with others known and unknown to the Grand Jury, to knowingly engage
and attempt to engage in a monetary transaction in criminally derived property of a
value greater than $10,000, and is derived from specified unlawful activity, within the
United States, in violation of 18 U.S.C. § 1957(a).

It is further alleged that the specified unlawful activities are conspiracy to
commit health care fraud and wire fraud, and health care fraud, in violation of 18
U.S.C. §§ 1349 and 1347.

In violation of 18 U.S.C. § 1956(h).

COUNTS NINE AND TEN
(Money Laundering)

A. Introduction
1. The Grand Jury realleges and incorporates by reference the paragraphs
contained in Sections A and C of Count One of this Indictment as though fully set
forth herein.
B. Offense
2. On or about the dates listed below in each count, in the Middle District
of Florida, and elsewhere, the defendant,

AARON DURALL,

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did knowingly conduct and attempt to conduct a financial transaction affecting

interstate and foreign commerce, which financial transaction involved the proceeds of

specified unlawful activity, knowing that the property involved in the financial

transaction represented the proceeds of some form of unlawful activity, with the intent

to promote the carrying on of specified unlawful activity:

 

Count

Approximate
Date of Payment

Approximate Amount

Description

 

NINE

November 30,
2016

$515,095

Transfer from BB&T account
ending in 5818, in the name of
Reliance Laboratory Testing,
Inc. to JPMorgan Chase
account ending in 1275 held in
the name of North Florida
Labs, LLC

 

TEN

 

 

February 2, 2017

 

$1,027,017

 

Transfer from BB&T account
ending in 5818, in the name of
Reliance Laboratory Testing,
Inc. to JPMorgan Chase
account ending in 2011 in the
name of KTL Labs, LLC

 

It is further alleged that the specified unlawful activities are conspiracy to

commit health care fraud and wire fraud, and health care fraud, in violation of 18

U.S.C. §§ 1349 and 1347.

In violation of 18 U.S.C. §§ 1956(a)(1)(A)Q@) and 2.

1.

COUNTS ELEVEN THROUGH TWENTY-THREE

(Money Laundering)

A. Introduction

The Grand Jury realleges and incorporates by reference the paragraphs

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contained in Sections A and C of Count One of this Indictment as though fully set
forth herein.
B. Offense
2. On or about the dates listed below in each count, in the Middle District
of Florida, and elsewhere, the defendants,
JORGE PEREZ,
RICARDO PEREZ,
SETH GUTERMAN,
AARON DURALL,
NEISHA ZAFFUTO,
JAMES F. PORTER, JR..,
SEAN PORTER, and
CHRISTIAN FLETCHER,
did knowingly engage in and attempt to engage in a monetary transaction by, through,
and to a financial institution affecting interstate and foreign commerce in criminally

derived property of a value greater than $10,000, and such property having been

derived from specified unlawful activity, as set forth below:

 

 

 

Count Defendant Approximate | Approximate Description
Date of Payment Amount
Transfer from Gateway
JAMES Bank of Central FL
PORTER, JR. | January 10,2017] $500,000 | account ending tn St)
ELEVEN mn e name ° Hosp
aboratory Partners to
JORGE PEREZ TD Bank account
ARD ending in 9018 in the
Ans a _| name of Empower HIS,
LLC

 

 

 

 

 

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Count

Defendant

Approximate
Date of Payment -

Approximate
Amount

Description

 

TWELVE

JAMES
PORTER, JR.

January 10, 2017

$372,501

Transfer from Gateway
Bank of Central FL
account ending in 4841,
in the name of Hospital
Laboratory Partners to
Suntrust account ending
in 9949 in the name of
RAJ Enterprises of CFL
LLC (Pinnacle Labs)

 

THIRTEEN

JORGE PEREZ

JAMES
PORTER, JR.

January 13, 2017

$2,208,791

Transfer from Putnam
County State Bank
account ending in 9924,
in the name of Putnam
County Memorial
Hospital to Gateway
Bank of Central FL
account ending in 4841,
in the name of Hospital
Laboratory Partners,
LLC

 

 

FOURTEEN

 

JAMES
PORTER, JR.

JORGE PEREZ

RICARDO
PEREZ

 

January 23, 2017

 

$500,000

 

Transfer from Gateway
Bank of Central FL
account ending in 4841,
in the name of Hospital
Laboratory Partners to
TD Bank account
ending in 0809 in the
name of Empower
Investment Group LLC

 

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Count

Defendant

Approximate
Date of Payment

Approximate
Amount

Description

 

FIFTEEN

JAMES
PORTER, JR.

CHRISTIAN
FLETCHER

January 30, 2017

$802,053

Transfer from Gateway
Bank of Central FL
account ending in 4841,
in the name of Hospital
Laboratory Partners to
Wells Fargo account
ending in 3021 in the
name of Lifebrite
Laboratories LLC

 

SIXTEEN

JAMES
PORTER, JR.

SEAN PORTER

May 15, 2017

$75,000

Transfer from Gateway
Bank of Central FL
account ending in 4841,
in the name of Hospital
Laboratory Partners to
Community Bank &
Trust of Florida account
ending in 4477 in the
name of TYSI LLC

 

 

SEVENTEEN

 

JORGE PEREZ

SETH
GUTERMAN

JAMES
PORTER, JR.

 

April 15, 2016

 

$93,328

 

Transfer from People’s
Bank of Graceville
account ending in 0377
in the name of
Campbeliton Graceville
Hospital to Suntrust
account ending in 9949
in the name of RAJ
Enterprises of CFL LLC
(Pinnacle Labs)

 

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Approximate

Approximate

 

 

 

 

 

Count Defendant Date of Payment ‘Amount Description
Transfer from Gateway
Bank of Central FL
JAMES December 23, account ending in 4841,
EIGHTEEN PORTER, JR. $1,125,300 m the name of Hospital
2016 aboratory Partners
CHRISTIAN LLC to Wells Fargo
FLETCHER account ending in 3021,
in the name of Lifebrite
Laboratories LLC
Transfer from Putnam
County State Bank
JORGE PEREZ account ending in 9924,
. in the name of Putnam
RICARDO County Memorial
NINETEEN PEREZ February 3, 2017 | $1,463,361 Hospital to Gateway
Bank of Central FL
JAMES account ending in 4841,
‘PORTER, JR. in the name of Hospital
Laboratory Partners
LLC
Transfer from Gateway
JAMES Bank of Central FL
PORTER, JR. account ending in 4841,
in the name of Hospital
TWENTY JORGE PEREZ April 28, 2017 $1,000,000 Laboratory Partners
LLC to TD Bank
RICARDO account ending in 9018,
PEREZ in the name of Empower
HIS LLC
Transfer from Gateway
JAMES Bank of Central FL
PORTER, JR. account ending in 4841,
in the name of Hospital
ONE ¥- JORGE PEREZ May 22, 2017 $250,000 Laboratory Partners
LLC to TD Bank
RICARDO account ending in 0809,
PEREZ in the name of Empower

 

 

 

 

Investment Group LLC

 

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Approximate | Approximate

Date of Payment Amount Description

Count Defendant

 

Transfer from Gateway
Bank of Central FL
account ending in 4841,
in the name of Hospital
Laboratory Partners to
Community Bank &
Trust of Florida account
ending in 4477 in the
name of TYSI LLC

JAMES
TWENTY- PORTER, JR. May 22, 2017 $75,000

TWO
SEAN PORTER

 

Transfer from BB&T
Bank account ending in
LL December 11, 4369, in the name of
TWENTY- $1,715,238 | Durall Capital Holdings
TAREE | yeisua | 27 LLC Moran
ZAFFUTO 2011 in in the name of
KTL Labs, LLC

 

 

 

 

 

 

It is further alleged that the specified unlawful activities are conspiracy to
commit health care fraud and wire fraud, and health care fraud, in violation of 18
U.S.C. §§ 1349 and 1347.

In violation of 18 U.S.C. §§ 1957(a) and 2.

FORFEITURE

1. The allegations contained in Count One are incorporated by reference for
the purpose of alleging forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 US.C. §
2461(c), and 18 U.S.C. § 982(a)(7).

2. Upon conviction of a conspiracy of the violation of 18 U.S.C. § 1343 and

18 U.S.C. § 1347, in violation of 18 U.S.C. § 1349, the defendants,

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JORGE PEREZ,
RICARDO PEREZ,
SETH GUTERMAN,
AARON DURALL,
JAMES PORTER,
CHRISTIAN FLETCHER,
NEISHA ZAFFUTO,
AARON ALONZO, and
NESTOR ROJAS,

shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
2461(c), and 18 U.S.C. § 982(a)(7), any property, real or personal, which constitutes or
is derived from proceeds traceable to the offense.
3. The allegations contained in Counts Two through Six are incorporated
by reference for the purpose of alleging forfeiture pursuant to 18 U.S.C. § 982(a)(7).
4. Upon conviction of the violation of 18 U.S.C. § 1347, the defendants,
JORGE PEREZ,
- RICARDO PEREZ,
SETH GUTERMAN, and
AARON DURALL,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(7), any property, real
or personal, that constitutes or is derived, directly or indirectly, from gross proceeds
traceable to the commission of the offense.

5. The allegations contained in Count Seven are incorporated by reference

for the purpose of alleging forfeitures pursuant to 18 U.S.C. § 982(a)(1).

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6. Upon conviction of a violation of 18 U.S.C. § 1956, the defendants,
AARON DURALL
and
NEISHA ZAFFUTO,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(1), any property, real
or personal, involved in such offense, or any property traceable to such property.
7. The allegations contained in Count Eight are incorporated by reference
for the purpose of alleging forfeitures pursuant to 18 U.S.C. § 982(a)(1).
8. Upon conviction of a violation of 18 U.S.C. § 1956, the defendants,
JORGE PEREZ,
RICARDO PEREZ,
JAMES F. PORTER, JR..,
SEAN PORTER,
CHRISTIAN FLETCHER,
SETH GUTERMAN,
AARON DURALL, and
NEISHA ZAFFUTO,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(1), any property, real
or personal, involved in such offense, or any property traceable to such property.
9. The allegations contained in Counts Nine and Ten are incorporated by
reference for the purpose of alleging forfeitures pursuant to 18 U.S.C. § 982(a)(1).
10. Upon conviction of a violation of 18 U.S.C. § 1956, the defendant,
AARON DURALL, shall forfeit to the United States, pursuant to 18 U.S.C. §

982(a)(1), any property, real or personal, involved in such offense, or any property

traceable to such property.

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11. The allegations contained in Counts Eleven through Twenty-Three are
incorporated by reference for the purpose of alleging forfeitures pursuant to 18 U.S.C.
§ 982(a)(1).

12. Upon conviction of a violation of 18 U.S.C. § 1957, the defendants,

JORGE PEREZ,
RICARDO PEREZ,
SETH GUTERMAN,
AARON DURALL,
NEISHA ZAFFUTO,
JAMES F. PORTER, JR.,
SEAN PORTER, and
CHRISTIAN FLETCHER,

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(1), any property, real
or personal, involved in such offense, or any property traceable to such property.
13. The property to be forfeited includes, but is not limited to, the following:

a. The sum of at least $46,286,878.58 which represents proceeds
defendants JORGE PEREZ and RICARDO PEREZ collectively
obtained as a result of the commission of the offenses charged in
Counts One through Six, and which proceeds were involved in the
commission of the offenses charged in Counts Eight, Eleven,
Thirteen, Fourteen, Seventeen, and Nineteen through Twenty-
One;

b. The sum of at least $1,832,820.75 which represents proceeds
defendant SETH GUTERMAN obtained as a result of the
commission of the offenses charged in Counts One through Six,
and which proceeds were involved in the commission of the
offenses charged in Counts Eight and Seventeen;

c. The sum of at least $184,407,671.87 which represents proceeds
defendant AARON DURALL obtained as a result of the
commission of the offenses charged in Counts One through Six,
and which proceeds were involved in the commission of the
offenses charged in Counts Ten and Twenty-Three;

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d. The sum of at least $10,902,011.30 which represents proceeds
defendant NEISHA ZAFFUTO obtained as a result of the
commission of the offenses charged in Count One, and which
proceeds were involved in the commission of the offenses
charged in Counts Seven, Eight and Twenty-Three;

e. The sum of at least $67,112,729.04 which represents proceeds
defendant JAMES PORTER obtained as a result of the
commission of the offenses charged in Count One, and which
proceeds were involved in the commission of the offenses charged
in Counts Eight, Eleven through Twenty-Two;

f. The sum of at least $3,036,184.26 which represents proceeds
defendant SEAN PORTER obtained as property involved in the
commission of the offenses charged in Counts Eight, Sixteen and
Twenty-Two;

g. The sum of at least $75,972,061.86 which represents proceeds
defendant CHRISTIAN FLETCHER obtained as a result of
the commission of the offenses charged in Count One, and
which proceeds were involved in the commission of the offenses
charged in Counts Eight, Fifteen and Eighteen;

h. The sum of at least $8,657 ,647.44 which represents proceeds
defendants AARON ALONZO and NESTOR ROJAS
collectively obtained as a result of the commission of the offenses
charged in Count;

i. Real property (Record Owner: Empower Investment Group)
including all improvements thereon and appurtenances thereto,
located at 96000 Overseas Highway, Unit W-31, Key Largo,
Monroe County, Florida 33037, the legal description for which is:

Unit No. W-31 of Buttonwood Bay No. 19, a Condominium,
according to The Declaration of Condominium recorded in
Official Records Book 795, Page 2192, and all exhibits and
amendments thereof, Public Records of Monroe County, Florida;
together with the undivided interest in the common elements
designated in Condominium Declaration appurtenant thereto,
together with Boat Slip Number 244;

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j. Real property, including all improvements thereon and
appurtenances thereto, located at 96000 Overseas Highway,
Unit M-4, Key Largo, Monroe County, Florida 33037, the legal
description for which is:

Unit No. M-4 of Buttonwood Bay No. 7, a Condominium,
according to the Declaration of Condominium recorded in Official
Records Book 582, Page 803, and all exhibits and amendments
thereof, Public Records of Monroe County, Florida

Record Owners: Jorge Perez & Liansy C. Carbonell, for a joint life
estate, with a remainder to Christina Ada Perez and Elizabeth
Estrella Perez, as joint tenants with the right of survivorship;

k. Real Property, including all improvements thereon and
appurtenances thereto, located at 13820 SW 142 Avenue,
Miami, Miami-Dade County, Florida 33186, the legal
description for which is:

Condominium Unit No. 13820, of Tamiair Park Condominium
No. 1, a Condominium, according to the Declaration of
Condominium thereof, as recorded in Official Records Book
11140, Page 905, of the Public Records of Miami-Dade County,
Florida, together with an undivided interest in the common
elements appurtenant thereto

Record Owner: Empower Investment Group LLC

1. Real Property, including all improvements thereon and
appurtenances thereto, located at 15424 SW 175 Street,
Miami, Miami-Dade County, Florida 33187, the legal
description for which is:

Lot 13, in Block 25, of VENETIAN PARC WEST, according to
the Plat thereof, as recorded in Plat Book 170, Page 27, of the
Public Records of Miami-Dade County, Florida

Record Owner: Empower Investment Group LLC;

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m. Real Property, including all improvements thereon and
appurtenances thereto, located at 15434 SW 175 Street,

Miami, Miami-Dade County, Florida 33187, the legal
description for which is:

Lot 14, in Block 25, of VENETIAN PARC WEST, according to
the Plat thereof, as recorded in Plat Book 170, Page 27, of the
Public Records of Miami-Dade County, Florida

Record Owner: Empower Investment Group LLC;

n. Real Property, including all improvements thereon and
appurtenances thereto, located at 7822 Marvana Lane, Parkland,
Broward County, Florida 33076, the legal description for which is:

Lot 23, Parkland Golf and Country Club Pod 20 Replat,
according to the Plat thereof as recorded in Plat Book 180,
Pages 61 through 64, inclusive, of the Public Records of
Broward County, Florida

Record Owners: Aaron L. Durall & Melanie M. Durall;

oO. Real Property, including all improvements thereon and
appurtenances thereto, located at 9447 Satinleaf Place, Parkland,
Broward County, Florida 33076, the legal description for which is:

Lot 8, Block G, PARKLAND GOLF AND COUNTRY CLUB
REPLAT #1, according to the plat thereof as recorded in Plat
Book 172, Pages 182-206, of the Public Records of Broward
County, Florida

Record Owner: Dalton Durall, Jr.;

p. Real Property, including all improvements thereon and
appurtenances thereto, located at 4123 Little Point, Avon, Eagle
County, Colorado 81620, the legal description for which is:

Lot 12N, a resubdivision of Lot 12, a resubdivision of lots 12 and

13, Wildridge, according to that plat recorded May 12, 2010 under
reception no. 201009073, County of Eagle, State of Colorado

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Record Owner: James Porter;

q. Real Property, including all improvements thereon and
appurtenances thereto, located at 1280 N. Circle Drive, Crystal
River, Citrus County, Florida 34429, the legal description for
which is:

Lot 23, SUNSET SHORES ADDITION TO WOODWARD
PARK, according to the plat thereof as recorded in Plat Book
2, page 140, Public Records of Citrus County, Florida

Record Owners: Sean L. Porter and Holly Porter;

r. Real Property, including all improvements thereon and
appurtenances thereto, located at 3540 Woodhaven Road NW,
Atlanta, Fulton County, Georgia 30305, the legal description for
which is:

All that tract or parcel of land lying and being in Land Lot 141,
17" District, Fulton County, Georgia as shown on that survey of
3540 Woodhaven Road for Donald M. Leeber, HI by Georgia
Land Surveying Co., Inc., certified by Josh L. Lewis, IV, Georgia
Registered Land Surveyor No. 3028, dated February 25, 2010,
being more particularly described as follows: Beginning at a one-
half inch rebar found on the northwestern Right-of-Way of
Woodhaven Road (fifty foot right-of-way), said point being
969.810 feet as measured southwesterly along the northwestern
right-of-way of said Woodhaven Road from the intersection of the
northwestern right-of-way of said Woodhaven Road and the
southwestern right of way Tuxedo Road (fifty foot right-of-way),
leaving said right-of-way, thence North 65 degrees 49 minutes 54
seconds West along the southwestern boundary of Lot 1,
Woodhaven Estates a distance of 562.33 feet to a three-quarter
inch open top pipe found; thence South 01 degrees 46 minutes 29
seconds West along an existing fence line a distance of 423.41 feet
to a three-quarter inch open to pipe found; thence South 77
degrees 56 minutes 55 seconds East along the northeastern
boundary of Lot 3, Woodhaven Estates a distance of 446.87 feet to
a three-quarter inch open top pipe found on the northwestern
right-of-way of said Woodhaven Road; thence North 14 degrees
50 minutes 31 seconds East along the northwestern right-of-way of
said Woodhaven Road a distance of 34.32 feet to a point;
continuing thence in a northeasterly direction along the

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northwestern right-of-way of said Woodhaven Road an arc length
of 265.65 feet (said arc being subtended by a chord having a chord
bearing North 17 degrees 36 minutes 45 seconds East, a chord
length of 266.66 feet, a radius of 2839.48 feet and a central angle
of 05 degrees 21 minutes 37 seconds) to a one-half inch rebar
found on the northwestern right-of-way of said Woodhaven Road,
said point of Beginning; Being all of Lot 2, Woodhaven Estates,
Plat Book 28, Page 57, Fulton County, Georgia Records; known
as 3540 Woodhaven Road according to the current system of
numbering houses in the City of Atlanta and containing 4.041
acres. Being the same property as described at Deed Book 1829,
Page 5; Deed Book 48503; Page 237 and Deed Book 48503, Page
239, Fulton County, Georgia Records

Record Owner: 3540 Woodhaven Road, LLC;

S. Real Property, including all improvements thereon and
appurtenances thereto, located at 9705 NW 67 Court, Tamarac,
Broward County, Florida 33321-3315, the legal description for
which is:

Lot 9, Block 289, oo WESTWOOD COMMUNITY TWO, a
Subdivision, according to the Plat thereof as recorded in Plat
Book 76, page(s) 46, of the Public Records of Broward
County, Florida

Record Owners: Neisha Zaffuto & Gerald Bruno;

t. Real Property, including all improvements thereon and
appurtenances thereto, located at 9805 NW 67 Court, Tamarac,
Broward County, Florida 33321-3317, the legal description for
which is:

Lot 15, Block 289, WESTWOOD COMMUNITY TWO, a

Subdivision, according to the Plat thereof as recorded in Plat Book
76, page(s) 46, of the Public Records of Broward County, Florida

Record Owner: Neisha Carter Zaffuto;

u. Real Property, including all improvements thereon and
appurtenances thereto, located at 13851 Stirling Road, Southwest
Ranches, Broward County, Florida 33330, the legal description for
which is:

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aa.

dd.

bb.

ce.

dd.

ee.

The West one-quarter (W %) of Tracts 13, 14, 15 and 16 in
Section 34, Township 50 South, Range 40 East, The Everglade
Sugar & Land Company Subdivision, according to the Plat
thereof as recorded in Plat Book 1, Page 152, of the Public
Records of Dade County, Florida, LESS road right-of-way

Record Owner: Joan Gordon as Trustee of the Stirling Estate
Trust;

2017 Range Rover, VIN SALGS2FE0HA325026
Registered to Aaron Durall;

2015 Ferrari 458 Speciale Spider, VIN ZFF78VHAOF0214434
Registered to Aaron L. Durall;

2015 Mercedes Benz S550, VIN WDDUG8CB7FA191689
Registered to Aaron Durall;

2015 GMC Sierra crew cab truck, VIN: 3GTU2VECXFG509514
Registered to Sean Lee Porter; .

2017 White McLaren 570GT, VIN: SBM13GAA2HW002070
Registered to Christian Al Fletcher;

2014 Black Rolls Royce Wraith, VIN: SCA665C56EUX84382
Registered to Neisha Suzanne Zaffuto;

2017 Cobia 277 Center Console vessel, HIN CBACW046J617
Registered to Empower Investment Group LLC;

2016 24’ Malibu M235 vessel, HIN: MB2V9179E616
Registered to James Frederick Porter, Jr.;

2017 23’ 5” Malibu M235 vessel, HIN: MB2V4052E717
Registered to James Frederick Porter, Jr. or Karol Renee Porter;

Audemars Piguet Royal Oak Lady Offshore Women’s Watch
(seized from Aaron Durall);

Tiffany & Company diamond 3.280 carat solitaire ring (seized
from Aaron Durall);

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88.

Patek Philippe 5940G-010 men’s watch (seized from Aaron
Durall);

14 karat 26.21 ctw 7” 100ptr Prong set round bracelet (seized from
Christian Fletcher); and

18 karat white gold custom diamond engagement ring, VS clarity
side stones 1.40 carats TW, with 7.27 carats color S12 clarity
certified cushion cut diamonds (seized from Christian Fletcher).

14. Ifany of the property described above, as a result of any act or omission

of the defendants:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property which cannot be

divided without difficulty;

the United States shall be entitled to forfeiture of substitute property under the

provisions of 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), and as

incorporated by 18 U.S.C. § 982(b)(1).

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MARIA CHAPA LOPEZ
_— States Attorney

Te fZ

ley Dua
Assistant United States Attorney

ger ae ee

“Frank Talbot
Assistant United States Attorney
Chief, Jacksonville Division

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A TRUE BILL

Vhauk dhe Dhath

Foreperson
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A VE Pegs FI B76)

Affan Medina

Deputy Chief

Criminal Division, Fraud Section
U.S. Department of Justice

SZ Haye
Gary A. Winters

James V. Hayes

Trial Attorneys

Criminal Division, Fraud Section
U.S. Department of Justice

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6/16/20 Revised

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No.

 

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Jacksonville Division

 

 

THE UNITED STATES OF AMERICA
Vs.

JORGE PEREZ
RICARDO PEREZ
SETH GUTERMAN
AARON DURALL
JAMES F. PORTER, JR
SEAN PORTER
CHRISTIAN FLETCHER
NEISHA ZAFFUTO
AARON ALONZO
NESTOR ROJAS

 

 

INDICTMENT
Violations: 18 U.S.C. 8§ 1349, 1347, 1956(h), 1956(a)(1)(A)(i), and 1957
A true bill,

Laaeyhsheansatles Hove

Foreperson
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Filed in open court thfs_/ 7 — ae 2020.
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Bail $

 

 

 

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